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October 11, 2012

Hon. Judge John Gleeson

United States District Court

Eastern District of New York

225 Cadman Plaza East, Room 7278S
Brooklyn, New York 11201

RE: Precision Associates, Inc. v. Panalpina World Transport (Holding) LTD., et. al.,
Case No.: 08-CV-00042 (JG) (VVP)

Dear Judge Gleeson,

Pursuant to this Court’s Order of October 10, 2012, ECF No. 666 (“Order”), Plaintiffs
write to (a) address the question of whether an interim distribution will be made to the class, and
(b) request that they be permitted until November 16, 2012 to file amended notice papers
incorporating the Court’s requested changes, including additional settlements in this round of
class notice, and making any additional changes or updates in light of the Amended Complaint
that will be filed on November 15, 2012.

While Plaintiffs did not initially contemplate an interim distribution to the class, in light
of the Kuehne + Nagel settlement, Plaintiffs now anticipate that an interim distribution is feasible
and will be made. Plaintiffs sought to address this change in the /atest proposed class notices
filed on September 24, 2012. See, ECF No. 656, Ex. 1 (“Claims forms will be distributed and
processed at a later point in the case.”) (emphasis added). The Long Form Notice states the
same. See id., Ex. 2 at 6.'If the Court permits Plaintiffs to file amended notice papers on
November 16, 2012, Plaintiffs will further amend the above language to be more specific about
the timing of the anticipated interim distribution as well as a general description of the plan of
allocation.

Further, as this Court may be aware, Plaintiffs filed a Motion for Preliminary Approval of
a Settlement with Defendant Morrison Express yesterday. If the Court grants this motion,
Plaintiffs respectfully request permission to include Morrison Express in this round of class

 

‘In footnote 1 to the Order, this Court noted that the “notice documents appear to disclaim any intention of making
an interim distribution. E.g., ECF No. 656, Ex. | (‘Short Form Notice to Class’) (stating that the settlement fund
‘will be distributed once the lawsuit is concluded against all the Defendants.’).” But that language is from Plaintiffs’
previous submission of the class notice papers filed on July 2, 2012, see ECF No. 593-3, Ex. 4 (Kinsella Decl.), and
not from Plaintiffs’ submission on September 24, 2012 as ECF No. 656. That prior language no longer appears in
the class notice papers as filed most recently with this Court. Plaintiffs regret not specifically calling that change to
the Court’s attention.
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notice. This inclusion will spread notice and administration costs over more settlements thereby
resulting in a lower payout of expenses for the class. Including the Morrison Express settlement
in this class notice will also provide more formal information to Intervenors and all other class
members.

Finally, Plaintiffs will make all of the changes to the class notice papers as requested by
this Court in its Order. Those changes will be reflected in Plaintiffs’ submission on November
16, 2012. Permitting Plaintiffs to file amended notice papers on November 16, 2012 will allow
Plaintiffs to incorporate any significant changes in the claims resulting from the filing of the
Amended Complaint and to apprise class members of the information referred to above.

Plaintiffs apologize to the Court for the inconvenience from the repeated amendments to
the notice papers but respectfully submit that they are necessitated or well justified by the
additional settlements, the ability to do an interim distribution and the other matters set forth
above. Thank you very much.

Sincerely,
/s/ Adam J. Zapala
Adam J. Zapala

cc: All Counsel of Record (via ECF)
Magistrate Judge Viktor Pohorelsky (via ECF and hand delivery)
